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                                         M IN UTE O RDER                                                 Page7
                                   M agistrate Judge Lauren F.Louis
                 AtkinsBuildingCourthouse-11thFloor                            Date:7/8/24          Time:2:00p.m.
Defendant: l.Bryan Tochon                   J#: 12520-506     Case #: 24-3335-M J-GOODM AN
AUSA: RobertM oore                                      Attorney: AFPD - M arissa Taney
Violation: DrugSmuggling                                     surr/ArrestDate:7/6/24          YOB:1995
Proceeding: InitialAppearance                                   CJA Appt:
Bond/PTD Held:C Yes C No                Recommended Bond:
                                                                    Co-signed by:

 I--Isurrenderand/ordonotobtainpassports/traveldocs                       Language: Spanish
      ReporttoPTSas directed/or       x'saweek/monthby                     Disposition:
      phone:      x'saweek/monthinperson                                    vprovisionall A ointed AFPD*
    Random urine testing by Pretrial
  1
  - Services
      Treatm entasdeem ed necessary                                        Defendantadvised ofrightsand
  1
  - Refrainfrom excessiveuse ofalcohol                                     charges
  )
  '-' participate in mentalbealth assessm ent& treatment
 N' Maintainorseekfull-timeemployment/education                            Defendantsworn;AFPDappointed
  )-' Nocontactwithvictims/witnesses,exceptthroughcounsel
  ?- Nofirearms                                                            STIP PrD w/rightto revisit(no hrg.
     Nottoencumberproperty                                                 heîd);Courtsets
  1- M aynotvisittransportation establishm ents
     H                                                                      *Brudy orderrequested*
  T    omeConfinement/ElectronicMonitoringand/or
      Curfew               pm to          am ,paid by
      Allow ances:M edicalneeds,cour'
                                    tappearances,attorney visits,
      religious,em ploym ent
  1- Travelextended to:                                                     Tim efrom today to          excluded
  V   Other:                                                                from SpeedyTrialClock
NEXT COURT APPEARANCE      Date:          Tim e:           ludge:                          Place:
ReportRE Counsel'
                .
PTD/BondHearing:
Prelim/Arraignment:                   7/22/24       10:00a-m.               Duty/M iam i
StatusConference RE:
D .A.R. 15:10 :43                                                   Tim e in Co urt:   6 m ins
                                    s/l-auren F.Louis                                    MagistrateJudge
